Case 2:05-cr-20204-.]DB Document 12 Filed 06/07/05 Page 1 of 2 Page|D 37

UNITED STATES DISTRICT COURT
Western District of Tennessee
Western Division

Robert R. Di Trolio Memphis 901-495»1200
E'ax 901-495-1250
Jackson 901-427»6586

Clerk of Court
Fax 901-427-9210

 

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DATE: June 7, 2005 §§§ m §
NOTICE TO ALL PARTIES ¢¢Cg, 1 §
" -!
RE= cRIMINAL cAsE No. 05-20204-B/v § 8
UNITED STATES OF AMERICA VS. CHARLES LOVE 99 ij
§ IG
RULE 20 (Consent to Transfer of Case for Plea and
Sentence)
XX_ RULE 40 DOCUMENTS
Documents, as to the above-named defendant, have been received

from the USDC, Eastern District of Tennessee (Chattanooga), on

June 6, 2005. Please refer to document #10 in the case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

  
 
 

BY:

  

Deputy Clerk

cc: Mag. Judge Casemgr.

242 Federal Building 101 Federal Building
167 North Main Street 109 South Highland Avenue
Memphis, Tennessee 38103 Jackson, Tennessee 38301

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20204 Was distributed by faX, rnail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

